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        IN THE UNITED STATES DISTRICT COURT FOR THE
               SOUTHERN DISTRICT OF ALABAMA
                       MOBILE DIVISION
 NADINE HOWELL,                )
                               )
     PLAINTIFF,                )
                               )           Case No.:
     V.                        )
                               )
 HANSEN AIR PROS, LLC,         )    JURY TRIAL DEMANDED
                               )
     DEFENDANT(S).             )
                               )

                                   COMPLAINT

JURISDICTION
             The plaintiff brings this action for injunctive relief and damages under

28 U.S.C. §§ 1331, 1343(4), 2201, 2202, 29 U.S.C. § 2617(a)(2), The Family and

Medical Leave Act. The jurisdiction of this Court is invoked to secure protection for

and to redress the deprivation of rights caused by the Defendant.

             This is a suit authorized and instituted under the Americans with

Disabilities Act, 42 U.S.C. § 12101, et seq., (ADA).

             This is a suit authorized and instituted under the Age Discrimination in

Employment Act, 29 U.S.C. § 621, 626(d)(1), et seq. (ADEA).

             Plaintiff timely filed a charge of discrimination with the Equal

Employment Opportunity Commission (EEOC) within 180 days of the last

discriminatory act (Exhibit A). Plaintiff timely filed another charge of discrimination

with the EEOC within 180 days of the further acts of retaliation (Exhibit B). The
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plaintiff further sued within ninety (90) days after receipt of the right-to-sue letters

issued by the EEOC (Exhibit C & Exhibit D).


PARTIES
             Plaintiff, Nadine Howell, (“Plaintiff” or “Howell”) is a resident of

Grand Bay, Mobile County, Alabama, and performed work for the Defendant in the

counties composing the Southern District of Alabama during the events of this case.

Thus, under 28 U.S.C. § 1391(b), venue for this action lies in the Mobile Division.

             Defendant Hansen Airpros (“Defendant”) is a company registered and

doing business in the State of Alabama and has sufficient minimum contacts with

the State of Alabama. It is subject to service of process in Alabama.

             At all times relevant to the allegations in this Complaint, Plaintiff was

over the age of forty (40).

             Defendant employed at least fifteen (15) people during the current or

preceding calendar year.

             Upon information and belief Defendant is part of an integrated

enterprise with more than 500 employees.

             Defendant employed at least fifteen (20) people during the current or

preceding calendar year.

             Defendant employed at least fifty (50) people for each working day

during each of 20 or more calendar workweeks in the current or preceding calendar
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year. Defendant employed these fifty (50) employees within 75 miles of Plaintiff’s

worksite.



FACTS
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             On or about January 6, 2018, Howell began her employment with

defendant as a Commercial Revenue Manager.

             Howell is a female, and over the age of 40.

             Howell is a person with one or more disabilities that substantially limit

one or more major life activities

             Howell worked more than 1250 hours for defendant in the year

preceding the events that are outlined in this complaint.

             In or about April 2022, Howell needed an emergency surgery to address

a ruptured organ.

             When Howell went to the hospital that day, she informed Defendant’s

employee, Chad Setchell, of her need for unforeseeable leave under the FMLA.

             When Howell informed defendant of her condition, she asked about

FMLA.

             Defendant did not give Howell any notices of her rights under the

FMLA and did not inform her how to apply.
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             When Howell had emergency surgery, her doctor told her that she

would need 8 weeks off work at a minimum.

             Defendant failed to give Howell eight undisturbed weeks of medical

leave, by continually calling her about work-related issues.

             After being out for a few weeks, Setchell informed Howell that if she

wanted to stay off the complete eight weeks, she had to apply for FMLA.

             When Howell reached out to Caitlin Whitfield of HR, she was told that

it didn’t work like that, and she would no longer be able to apply for FMLA.

             After only four weeks of leave, Howell was afraid she would lose her

job if she didn’t return and was forced to return to the office, despite her doctor’s

orders and entitlement under the FMLA.

             Immediately upon Howell’s return, her manager became upset and

sought to place her on administrative leave, even though Howell did nothing wrong.

             Within a week of Howell’s return, Defendant accused her of disclosing

confidential information and put her on administrative leave.

             Howell had not disclosed any information that she was not permitted to

release, and after an investigation, Howell was cleared of any wrongdoing.

             A week after Howell returned to work prematurely and after being

placed on leave, she disclosed to Chad that she had another serious health condition

– cancer.
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             On or about July 12, 2022, Howell experienced another FMLA

qualifying event when her son was involved in a motorcycle accident and became

incapacitated.

             Howell informed Defendant that she would need time off to attend to

her son’s medical needs.

             Howell spoke to Steve Weber, Vice President of Business

Administration, and questioned if she needed to apply for FMLA.

             Weber told her there was no need to apply, because she was already on

administrative leave.

             Days later, Howell’s son succumbed to his injuries and passed away.

             On or about August 18, 2022, Defendant’s HR Representative –

Whitfield informed Howell that the company was restructuring and that her position

was eliminated.

             Shortly after, Howell spoke to VP Steve Weber. Weber told her that

there was nothing found in the investigation, and she was eligible to apply for other

positions within the company, because her position was eliminated.

             Howell’s position was not eliminated.

             A younger woman (late twenties), Kennedy Lowe, filled Howell’s

position.
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             .Howell’s position was filled by a person who was under the age of 40,

who had no medical conditions, and had not taken FMLA qualifying leave.

             Howell’s position was assumed by a person who had no experience

pertaining to this role and had just started at the company a few months before.

             When Plaintiff filed for unemployment compensation with the DOL,

she was denied.

             At that point, Defendant changed the reason it terminated her as being

related to the investigation.

             On or about September 2, 2022, Howell filed a charge of discrimination

and retaliation with the EEOC, against Defendant, regarding the facts above (Charge

No. 420-2022-03390).

             On or about January 25, 2023, Howell attended an unsuccessful EEOC

mediation with Defendant.

             Just over a week later, on or about February 3, 2023, Defendant filed a

lawsuit against Howell alleging conduct that occurred during the time when Howell

was on leave.

             In or about March 2023, Howell had a job fully secured at another

company and was being assigned a company car. Suddenly, the company stopped

contacting her completely, with no explanation.
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             Later. Howell learned that Defendant disparaged her to prospective

employers, causing her to lose job opportunities.


COUNT I: ADA FAILURE TO ACCOMMODATE
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff suffered from multiple physical impairments – an ovary

rupture and skin cancer.

             Plaintiff’s ovary rupture affected her such that many major life

activities were restricted as compared to the average person in the general population

– she became septic; was placed on bed rest; and faced death if her complications

were not resolved.

             Plaintiff required the reasonable accommodation of time off of work

for surgery and eight weeks of recovery.

             Plaintiff     requested   that   Defendant    provide    a   reasonable

accommodation.

             Plaintiff performed the essential functions of her job with or without

accommodation for her disability.

             Defendant failed to accommodate Plaintiff by continuing to give her

work, failing to inform her of her FMLA rights, then telling her it was too late to
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apply for the FMLA job protection, and creating the expectation that she had to

return to work despite her doctor’s orders.

             Defendant failed to engage in the interactive process required by the

Americans with Disabilities Act even though Plaintiff performed the essential

functions of her job.

             Because of Defendant’s violation of the ADA, Plaintiff has been

damaged, suffering loss of pay, benefits, and mental anguish.


COUNT II: ADA RETALIATION - TERMINATION
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff suffered from multiple physical impairments – an ovary

rupture and skin cancer.

             Plaintiff’s ovary rupture affected her such that many major life

activities were restricted as compared to the average person in the general population

– she became septic; was placed on bed rest; and faced death if her complications

were not resolved.

             Plaintiff required the reasonable accommodation of time off of work

for surgery and eight weeks of recovery.

             Plaintiff     requested   that   Defendant    provide    a   reasonable

accommodation.
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              On or about August 18, 2022, Defendant terminated Plaintiff’s

employment, citing eliminating her position as the reason.

              Plaintiff’s position was not eliminated. Instead, Defendant replaced her

with someone who was unqualified for the role, but who had not disclosed or

requested accommodations for disabilities.

              There is no logical, medical or other basis to believe that Plaintiff’s

disability would prevent Plaintiff from performing the essential functions of the job.

              But for Plaintiff’s disabilities, Defendant would have retained Plaintiff

in her position as a Commercial Reveue Manager.

              Defendant violated the ADA by terminating her employment because

of her disabilities.

              Because of Defendant’s violation of the ADA, Plaintiff has been

damaged, suffering loss of pay, benefits, and mental anguish.


COUNT III: ADA DISCRIMINATION - TERMINATION
              Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

              Plaintiff suffered from the physical impairment of a ruptured ovary.

              Defendant knew of Plaintiff’s disabilities.

              Plaintiff’s ovary rupture affected her such that many major life

activities were restricted as compared to the average person in the general population
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– she became septic; was placed on bed rest; and faced death if her complications

were not resolved.

              Plaintiff performed the essential functions of her job with or without

accommodation for her disability.

              At all times relevant to this complaint, Plaintiff performed the essential

functions of her duties as Commercial Reveue Manager in in a satisfactory or better

manner.

              On or about August 18, 2022, Defendant terminated Plaintiff’s

employment, citing eliminating her position as the reason.

              Plaintiff’s position was not eliminated. Instead, Defendant replaced her

with someone who was unqualified for the role, but who had not disclosed or

requested accommodations for disabilities.

              There is no logical, medical or other basis to believe that Plaintiff’s

disability would prevent Plaintiff from performing the essential functions of the job.

              But for Plaintiff’s disabilities, Defendant would have retained Plaintiff

in her position as a Commercial Reveue Manager.

              Defendant violated the ADA by terminating her employment because

of her disabilities.

              Because of Defendant’s violation of the ADA, Plaintiff has been

damaged, suffering loss of pay, benefits and mental anguish.
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COUNT IV: ADA – PERCEPTION - DISABILITY
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff is a person with an impairment – skin cancer, that at the time

of her termination, had not substantially restricted her as compared to the average

person in the general population.

             A week after Howell returned to work prematurely and after being

placed on leave, she disclosed to Chad that she had another serious health condition

– skin cancer.

             Within a couple months of Plaintiff disclosing that she had cancer,

Defendant terminated Plaintiff’s job, stating that her job was “eliminated.”

             Plaintiff’s job was not eliminated. Instead, Defendant filled Plaintiff’s

position with a person who was unqualified for the role, but who had not disclosed

impairments or perceived disabilities, such as cancer.

             But for Defendant’s perception of Plaintiff having a disability,

Defendant would have retained Plaintiff in her position as Commercial Reveue

Manager.

             In failing to retain Plaintiff, Defendant violated the ADA because of

Defendant’s perception of Plaintiff having a disability.

             Because of Defendant’s violation of the ADA, Plaintiff has been

damaged suffering loss of pay, benefits, and mental anguish.
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COUNT V: ADA – RETALIATION - TERMINATION
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff was qualified for her position and able to perform the essential

functions of the job.

             On or about September 2, 2022, Plaintiff engaged in protected activity,

when she filed a charge of discrimination based on sex, with the EEOC, against

Defendant (Charge No. 420-2022-03390).

             On or about January 25, 2023, Plaintiff attended an unsuccessful EEOC

mediation with Defendant.

             Just over a week later, on or about February 3, 2023, Defendant filed a

lawsuit against Plaintiff.

             Since then, Plaintiff learned that Defendant has been disparaging her to

prospective employers. Plaintiff had a job fully secured with an employer, but

suddenly never heard from them again.

             But for Plaintiff’s protected activity, Defendant would not have

disparaged Plaintiff to prospective employers or filed a lawsuit against her.

             Defendant violated ADA by filing a lawsuit against Plaintiff and

disparaging her to prospective employers because Plaintiff for engaged in protected

activity.
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             Because of Defendant’s violation of the ADA, Plaintiff has been

damaged suffering loss of compensatory damages including mental anguish, pay and

benefits.

COUNT VI: ADEA - RETALIATION
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff was qualified for her position and able to perform the essential

functions of the job.

             On or about September 2, 2022, Plaintiff engaged in protected activity,

when she filed a charge of discrimination based on sex, with the EEOC, against

Defendant (Charge No. 420-2022-03390).

             On or about January 25, 2023, Plaintiff attended an unsuccessful EEOC

mediation with Defendant.

             Just over a week later, on or about February 3, 2023, Defendant filed a

lawsuit against Plaintiff.

             Since then, Plaintiff learned that Defendant has been disparaging her to

prospective employers. Plaintiff had a job fully secured with an employer, but

suddenly never heard from them again.

             But for Plaintiff’s protected activity, Defendant would not have

disparaged Plaintiff to prospective employers or filed a lawsuit against her.
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             Defendant violated ADEA by filing a lawsuit against Plaintiff and

disparaging her to prospective employers because Plaintiff for engaged in protected

activity.

             Because of Defendant’s violation of the ADEA, Plaintiff has been

damaged suffering loss of pay and benefits.


COUNT VII: ADEA -TERMINATION
             At all times relevant to the allegations in this Complaint, Plaintiff was

over the age of forty (40).

             Defendant hired Plaintiff on or about January 6, 2018, as a Commercial

Revenue Manager.

             Defendant terminated Plaintiff’s employment on or about July 12,

2022, stating that the position was being “eliminated.”

             When Defendant terminated her employment, Plaintiff was over forty

(40) years of age and substantially older than the employee who was placed in her

position, who was younger than forty.

             The employee who was younger than forty was placed in the position,

despite the fact she was unqualified for the role and that Defendant claimed the

position was eliminated.

             Defendant’s actions in terminating Plaintiff’s employment, while

retaining employees under age 40, violated the ADEA.
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             Defendant’s actions in terminating Plaintiff’s employment, while

retaining substantially younger employees, violated the ADEA.

             Because of Defendant’s violation of ADEA, Plaintiff has been

damaged, suffering loss of pay and benefits.

COUNT VIII: ADEA - RETALIATION
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             Plaintiff was qualified for her position and able to perform the essential

functions of the job.

             On or about September 2, 2022, Plaintiff engaged in protected activity,

when she filed a charge of discrimination based on sex, with the EEOC, against

Defendant (Charge No. 420-2022-03390).

             On or about January 25, 2023, Plaintiff attended an unsuccessful EEOC

mediation with Defendant.

             Just over a week later, on or about February 3, 2023, Defendant filed a

lawsuit against Plaintiff.

             Since then, Plaintiff learned that Defendant has been disparaging her to

prospective employers. Plaintiff had a job fully secured with an employer, but

suddenly never heard from them again.

             But for Plaintiff’s protected activity, Defendant would not have

disparaged Plaintiff to prospective employers or filed a lawsuit against her.
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             Defendant violated ADEA by filing a lawsuit against Plaintiff and

disparaging her to prospective employers because Plaintiff for engaged in protected

activity.

             Because of Defendant’s violation of the ADEA, Plaintiff has been

damaged suffering loss of pay and benefits.

COUNT IX: FMLA INTERFERENCE
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.

             During the 12-month period before April 1, 2022, Defendant employed

Plaintiff for at least 1,250 hours of service.

             Defendant employed fifty (50) or more persons for each working day

during each of the 20 or more calendar workweeks in the current or preceding

calendar year of Plaintiff’s April 1, 2022, health issues.

             During the week of April 1, 2022, Defendant employed fifty or more

employees, working within 75 miles of the location where Plaintiff worked.

             On April 1, 2022, Plaintiff provided notice of unforeseeable FMLA

leave to Defendant via Chad Setchell.

             Plaintiff provided notice of her unforeseeable need of FMLA leave the

same day that the need for FMLA leave arose.

             Before April 1, 2022, Plaintiff had never informed Defendant of the

need for FMLA leave.
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             Defendant failed to provide Plaintiff with a Notice of Eligibility and

Rights and Responsibilities form.

             Defendant failed to provide Plaintiff with an FMLA Designation Notice

form.

             Defendant failed to provide Plaintiff with a FMLA Certification of

Health Care Provider for Employee’s Serious Health Condition form.

             Defendant interfered with Plaintiff’s FMLA rights by not informing her

of those rights and by forcing her to return from leave against her doctor’s orders

due to fear of having unprotected leave.

             Defendant employed fifty (50) or more persons for each working day

during each of the 20 or more calendar workweeks in the current or preceding

calendar year of Plaintiff’s July 12, 2022, health issues.

             During the week of July 12, 2022, Defendant employed fifty or more

employees, working within 75 miles of the location where Plaintiff worked.

             On or about July 12, 2022, Plaintiff’s son was involved in a motorcycle

accident and became incapacitated. Plaintiff informed Defendant that she would

need time off to attend to her son’s medical needs.

             On or about July 12, 2022, Plaintiff provided notice of unforeseeable

FMLA leave to Steve Weber.
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             Plaintiff provided notice of her unforeseeable need of FMLA leave the

same day that the need for FMLA leave arose.

             Defendant failed to provide Plaintiff with a Notice of Eligibility and

Rights and Responsibilities form.

             Defendant failed to provide Plaintiff with an FMLA Designation Notice

form.

             Defendant failed to provide Plaintiff with a FMLA Certification of

Health Care Provider for Family Member’s Serious Health Condition form.

             A month later, on or about August 18, 2022, Defendant terminated

Plaintiff’s employment, stating that the position was being “eliminated.”

             The position was not eliminated. Instead, Defendant filled the position

with another employee who was unqualified for the role, but who had not given

notice of FMLA qualifying leave.

             Defendant knew that Plaintiff suffered from FMLA qualifying

conditions for which she needed treatment through her doctor and that her son

suffered from FMLA qualifying conditions, for which she needed to be a caretaker.

             Because of Defendant’s interference with Plaintiff’s rights under the

FMLA, Plaintiff has been damaged, suffering loss of pay and benefits.

COUNT X: FMLA RETALIATION
             Plaintiff incorporates by reference and realleges each of the preceding

paragraphs as if set out herein.
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              During the 12-month period before April 1, 2022, Defendant employed

        Plaintiff for at least 1,250 hours of service.

              Defendant employs fifty (50) or more persons for each working day

during each of the 20 or more calendar workweeks in the current or preceding

calendar year before April 1, 2022.

              During the week of April 1, 2022, Defendant employed fifty or more

employees, worked within 75 miles of the location where Plaintiff worked.

              On April 1, 2022, Plaintiff provided notice of unforeseeable FMLA

leave to Chad Setchell.

              Plaintiff provided notice of her unforeseeable need of FMLA leave as

soon as practicable due to her medical emergency.

              Before April 1, 2022, Plaintiff had never informed Defendant of a need

for FMLA leave.

              Defendant willfully failed to provide Plaintiff with a Notice of

Eligibility and Rights and Responsibilities form.

              Defendant willfully failed to provide Plaintiff with an FMLA

Designation Notice form.

              Defendant willfully failed to provide Plaintiff with an FMLA

Certification of Health Care Provider for Employee’s Serious Health Condition

form.
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             Defendant employed fifty (50) or more persons for each working day

during each of the 20 or more calendar workweeks in the current or preceding

calendar year of Plaintiff’s July 12, 2022, health issues.

             During the week of July 12, 2022, Defendant employed fifty or more

employees, working within 75 miles of the location where Plaintiff worked.

             On or about July 12, 2022, Plaintiff’s son was involved in a motorcycle

accident and became incapacitated. Plaintiff informed Defendant that she would

need time off to attend to her son’s medical needs.

             On July 12, 2022, Plaintiff provided notice of unforeseeable FMLA

leave to Steve Weber.

             Plaintiff provided notice of her unforeseeable need of FMLA leave the

same day that the need for FMLA leave arose.

             Defendant willfully failed to provide Plaintiff with a Notice of

Eligibility and Rights and Responsibilities form.

             Defendant willfully failed to provide Plaintiff with an FMLA

Designation Notice form.

             Defendant willfully failed to provide Plaintiff with a FMLA

Certification of Health Care Provider for Family Member’s Serious Health

Condition form.
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             A month later, on or about August 18, 2022, Defendant terminated

Plaintiff’s employment, stating that the position was being “eliminated.”

             The position was not eliminated. Instead, Defendant filled the position

with another employee who was unqualified for the role, but who had not given

notice of FMLA qualifying leave.

             Defendant’s employees knew that Plaintiff suffered from FMLA

qualifying conditions for which she needed treatment through her doctor from April

1, 2022, for 8-weeks and that Plaintiff’s son suffered from FMLA qualifying

conditions on July 12, 2022.

             Defendant’s terminated Plaintiff’s employment, in whole or part,

because Plaintiff requested information about FMLA leave and took FMLA

qualifying leave.

             On or about September 2, 2022, Plaintiff filed a charge of

discrimination with the EEOC, against Defendant, alleged discrimination and

retaliation under the FMLA (Charge No. 420-2022-03390).

             On or about January 25, 2023, Plaintiff attended an unsuccessful EEOC

mediation with Defendant.

             Just over a week later, on or about February 3, 2023, Defendant filed a

lawsuit against Plaintiff.
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             Since then, Plaintiff learned that Defendant has been disparaging her to

prospective employers.

             Plaintiff had a job fully secured, then suddenly never heard from the

company again.

             Defendant terminated Plaintiff’s employment, in whole or part because

she sought to understand and exercise FMLA rights. Defendant filed a lawsuit

against Plaintiff and disparaged her to prospective employers in whole or part,

because she acted in protected activity by complaining of FMLA discrimination.

             Because of Defendant’s retaliatory termination decision, disparaging

comments, and unjustified lawsuit in violation of the FMLA, Plaintiff has been

damaged, suffering loss of pay and benefits.

PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays for the following relief:

       A.    Grant Plaintiff a permanent injunction enjoining the Defendant, its

agents, successors, employees, attorneys and those acting with the Defendant and at

the Defendant’s request from continuing to violate the Americans with Disabilities

Act;

       B.    Grant Plaintiff a permanent injunction enjoining the Defendant, its

agents, successors, employees, attorneys and those acting with the Defendant and at
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the Defendant’s request from continuing to violate the terms of the Age

Discrimination in Employment Act.

      C.      Grant Plaintiff a permanent injunction enjoining the Defendant, its

agents, successors, employees, attorneys and those acting with the Defendant and at

the Defendant’s request from continuing to violate the terms of the Age

Discrimination in Employment Act.

      D.      Grant Plaintiff a permanent injunction enjoining the Defendant, its

agents, successors, employees, attorneys and those acting with the Defendant and at

the Defendant’s request from continuing to violate the terms of the Family and

Medical Leave Act;

      E.      Enter an Order requiring the Defendant to make Plaintiff whole by

awarding reinstatement to the position she would have had, had she not been

terminated;

      F.      Award her back pay, with employment benefits, front pay, liquidated

damages; compensatory damages, special damages; punitive damages nominal

damages;

      G.      Attorneys’ fees and costs;

      H.      Plaintiff requests that the Court award Plaintiff equitable relief as

provided by law; and,
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       I.     Any different or additional relief as determined by the Court to which

Plaintiff is entitled.

                                                 s/Kira Fonteneau
                                                 Kira Fonteneau
                                                 Lacey Wilson
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